      Douglas R. Ricks, OSB #044026
      VANDEN BOS & CHAPMAN, LLP
      319 SW Washington St., Ste. 520
      Portland, OR 97204
      Telephone: 503-241-4869
      Fax: 503-241-3731

               Of Attorneys for Sunshine Dairy Foods Management, LLC
               Debtor-in-Possession

      Nicholas J. Henderson, OSB #074027
      nhenderson@portlaw.com
      MOTSCHENBACHER & BLATTNER, LLP
      117 SW Taylor St., Suite 300
      Portland, OR 97204
      Telephone: (503) 417-0508
      Facsimile: (503) 417-0528

               Of Attorneys for Karamanos Holdings, Inc.,
               Debtor-in-Possession


                            IN THE UNITED STATES BANKRUPTCY COURT

                                    FOR THE DISTRICT OF OREGON

       In re                                              Bankruptcy Case Nos.

       Sunshine Dairy Foods Management, LLC;              18-31644-pcm11 (Lead Case)
       and
       Karamanos Holdings, Inc.,                          18-31646-pcm11

                                                          DEBTOR’S MOTION TO DETERMINE
                                                          ADEQUATE ASSURANCE TO UTILITY
                      Debtors-in-Possession.              COMPANIES

               Debtor, Sunshine Dairy Foods Management, LLC ("Debtor"), hereby moves this

      Court for an order determining adequate assurance to utility companies, and in support

      thereof states as follows:

               1.    On May 9, 2018 (the "Petition Date"), Debtor filed a voluntary petition for relief

      under Chapter 11 of Title 11 of the United States Code.


Page 1 of 4     DEBTOR’S MOTION TO DETERMINE ADEQUATE ASSURANCE TO                  VANDEN BOS & CHAPMAN, LLP
                                                                                               Attorneys at Law
                UTILITY COMPANIES                                                     319 SW Washington Street, Suite 520
                                                                                         Portland, Oregon 97204-2690
                                                                                                (503) 241-4869



                           Case 18-31644-pcm11       Doc 87     Filed 05/18/18
              2.    Debtor has continued in possession of Debtor's property and is continuing to

      operate and manage Debtor's business pursuant to §§ 1107(a) and 1108 of the Bankruptcy

      Code.

              3.    The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334(b)

      and the standing order of reference of the District Court. This matter is a core proceeding

      pursuant to 28 U.S.C. § 157(b). Venue is proper under 28 U.S.C. §§ 1408 and 1409.

              In connection with the operation of Debtor's business, Debtor obtains electric, gas,

      water, and similar services (collectively the "Utility Services") from several utility companies

      (the "Utility Companies"). Attached hereto as Exhibit 1 to the proposed form of Order

      granting this Motion (Exhibit A) is a list of substantially all of the Utility Companies that

      provide Utility Services to the Debtor as of the Petition Date. The relief requested herein is

      requested with respect to all Utility Companies providing Utility Services to Debtor and is not

      limited only to those entities listed on Exhibit 1.

              4.    Pursuant to 11 U.S.C. § 366(c)(2), a Utility Company may alter, refuse, or

      discontinue utility service to a debtor if within 30 days after the Petition Date the debtor does

      not provide adequate assurance of payment for post-petition Utility Services in a form that is

      satisfactory to the Utility Company. Debtor seeks an order determining the appropriate form

      of adequate assurance of future performance and thereby prohibiting any Utility Company

      from altering, refusing, or discontinuing Utility Services absent further court order.

              5.    Debtor proposes to provide adequate assurance of payment in the form of a

      one-month deposit by Debtor to the Utility Companies which request such a deposit, in the

      initial amounts set forth in Exhibit 1.




Page 2 of 4    DEBTOR’S MOTION TO DETERMINE ADEQUATE ASSURANCE TO                    VANDEN BOS & CHAPMAN, LLP
                                                                                                Attorneys at Law
               UTILITY COMPANIES                                                       319 SW Washington Street, Suite 520
                                                                                          Portland, Oregon 97204-2690
                                                                                                 (503) 241-4869



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               6.   The one-month deposits made upon request of each Utility Company shall be

      deemed to be adequate assurance of payment for purposes of 11 U.S.C. § 366 without

      prejudice to the Utility Companies' right to seek additional or alternative assurance of

      payment upon further request of this Court. Debtor requests that any Utility Company

      seeking additional or alternative forms of adequate assurance be prohibited from altering,

      refusing, or discontinuing Utility Services pending further order of this Court.

               7.   If Utility Companies are permitted to terminate Utility Services without notice to

      Debtor or an opportunity for hearing, Debtor's business could be severely impacted resulting

      in significant losses. The impact on Debtor's business operations, revenue and

      restructuring efforts could be devastating. The Debtor deals in food products, particularly

      dairy products, which risk becoming spoiled or ruined if utility services are terminated.

      Accordingly, it is important that the Utility Services remain uninterrupted.

               8.   In determining adequate assurance, the Court is not required to give the Utility

      Companies the equivalent of a guarantee of payment, but must only determine that the

      utility is not subject to an unreasonable risk of nonpayment for post-petition services. See In

      re Caldor, Inc. - NY, 199 B.R. 1 (SDNY 1996); In re Santa Clara Circuits West, Inc., 27 BR

      680, 685 (Bankr. D. Utah 1982); In re George C. Frye Co., 7 BR 856, 858 (Bankr. D. Me

      1980).

               9.   The adequate assurance proposed herein consisting of a cash deposit upon

      request equal to one month of service for each identified utility will provide satisfactory

      assurance of payment. Furthermore, requiring a court order prior to the alteration, refusal, or

      discontinuance of Utility Services by any Utility Company will protect Debtor's business




Page 3 of 4     DEBTOR’S MOTION TO DETERMINE ADEQUATE ASSURANCE TO                   VANDEN BOS & CHAPMAN, LLP
                                                                                                Attorneys at Law
                UTILITY COMPANIES                                                      319 SW Washington Street, Suite 520
                                                                                          Portland, Oregon 97204-2690
                                                                                                 (503) 241-4869



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      operations from being disrupted in the event a Utility Company unilaterally determines that

      the proposed adequate assurance of payment is not appropriate.

              10.   Debtor's proposed assurance of payment is in the best interest of Debtor and

      Debtor's creditors and will enable Debtor to continue to operate Debtor's business in the

      ordinary course.

              11.   Debtor has provided notice of this motion to the United States Trustee, to

      Debtor's secured creditors, to holders of the 20 largest unsecured claims, any party

      requesting special notice and, to the Utility Companies identified on Exhibit 1 attached

      hereto. No unsecured creditors' committee has yet been appointed in this case. No further

      notice is necessary.

              WHEREFORE, Debtor prays that this Court enter an Order determining that the

      payment of a deposit equal to one-month's average services upon request by a Utility

      Company in the amounts set forth in Exhibit 1 constitutes adequate assurance of payment

      in accordance with 11 USC §366 unless and until further order of this Court and prohibiting

      any Utility Company from altering, refusing, or discontinuing Utility Services without further

      order of this Court or granting such other form of adequate assurance as the court may

      deem necessary or appropriate.

              Dated: May 18, 2018

                                               VANDEN BOS & CHAPMAN, LLP



                                               By:/s/Douglas R. Ricks
                                                 Douglas R. Ricks, OSB #044026
                                                 Of Attorneys for Debtor-in-Possession




Page 4 of 4    DEBTOR’S MOTION TO DETERMINE ADEQUATE ASSURANCE TO                 VANDEN BOS & CHAPMAN, LLP
                                                                                             Attorneys at Law
               UTILITY COMPANIES                                                    319 SW Washington Street, Suite 520
                                                                                       Portland, Oregon 97204-2690
                                                                                              (503) 241-4869



                          Case 18-31644-pcm11       Doc 87    Filed 05/18/18
                             IN THE UNITED STATES BANKRUPTCY COURT

                                     FOR THE DISTRICT OF OREGON

         In re                                          Bankruptcy Case Nos.

         Sunshine Dairy Foods Management, LLC;          18-31644-pcm11 (Lead Case)
         and
         Karamanos Holdings, Inc.,                      18-31646-pcm11

                                                        ORDER DETERMINING ADEQUATE
                                                        ASSURANCE TO UTILITY
                                                        COMPANIES

                        Debtors-in-Possession.

                 THIS MATTER having come before the Court upon Debtor-in-Possession Sunshine

        Dairy Foods Management, LLC’s (“Debtor”) Motion for Order Determining Adequate

        Assurance to Utility Companies filed by the Debtor and the matter having come before the

        Court for hearing and the Court being duly advised in the premises and finding good cause

        therefor;

                 NOW, THEREFORE, IT IS HEREBY ORDERED for each Utility Company that

        requests a deposit, payment of a deposit equal to one-month's average services to each



  Page 1 of 2      ORDER DETERMINING ADEQUATE ASSURANCE TO UTILITY              VANDEN BOS & CHAPMAN, LLP
                                                                                           Attorneys at Law
                   COMPANIES                                                      319 SW Washington Street, Suite 520
Exhibit A - Page 1 of 4                                                              Portland, Oregon 97204-2690
                                                                                            (503) 241-4869

                            Case 18-31644-pcm11     Doc 87   Filed 05/18/18
         Utility Company, as set forth in Exhibit 1 attached hereto constitutes adequate assurance of

         payment in accordance with 11 USC §366 unless and until further order of this Court and all

         utility companies are hereby prohibited from altering, refusing, or discontinuing utility service

         without further order of this Court. Provided, however, that this order is without prejudice to

         any utility company's right to seek additional or alternative assurance of payment upon

         further request of this Court.

                                                               ###

                 I certify that I have complied with the requirements of LBR 9021-1(a)(2)(A).

         PRESENTED BY:

          VANDEN BOS & CHAPMAN, LLP



          By:/s/Douglas R. Ricks
            Douglas R. Ricks, OSB #044026
            Of Attorneys for Debtor-in-Possession
            Sunshine Dairy Foods Management, LLC


          First Class Mail:                                      Electronic Mail:

          See Attached List. (The original Service List is       The foregoing was served on all CM/ECF
          attached to the original copy filed with the Court     participants through the Court's Case
          only. Creditors may request a copy of the Service      Management/Electronic Case File system.
          List by contacting the undersigned.)




  Page 2 of 2      ORDER DETERMINING ADEQUATE ASSURANCE TO UTILITY                            VANDEN BOS & CHAPMAN, LLP
                                                                                                         Attorneys at Law
                   COMPANIES                                                                    319 SW Washington Street, Suite 520
                                                                                                   Portland, Oregon 97204-2690
                                                                                                          (503) 241-4869
Exhibit A - Page 2 of 4
                               Case 18-31644-pcm11             Doc 87    Filed 05/18/18
                                                                          SUNSHINE DAIRY FOODS MANAGEMENT, LLC
                                                                                    UTILITY COMPANIES

                                                                                                                                                Total amount
                                                                                                                                                paid during
                                                                                                                                                   last 12
                                                                                                                       Type of     Current        months




Exhibit A - Page 3 of 4
                                                                                                                       Service   Balance due     (5/4/17 to     Deposit
                         Name of Utility Company   Mailing Address          City, State Zip         Account #         Provided   as of 5/4/17      5/4/18)     Amount*
                       AT & T                       P O Box 105068    Atlanta, GA 30348           030 440 5421 001     phone     $          - $     637.72 $    53.14




                                 2
                       CenturyLink                   PO Box 91155     Seattle, WA 98111-9255     503-325-5867 499B     phone     $     51.53 $      568.97 $    47.41




           Exhibit 1 - Page 1 of Case
                       Comcast                       PO Box 34744     Seattle, WA 98124-1744    8778-10-401-6064548   Internet   $      (4.19) $  1,911.81 $   159.32
                       Comcast                       PO Box 34744     Seattle, WA 98124-1744    8778-10-401-6064530   Internet   $    149.60 $    2,030.42 $   169.20
                       Comcast                       PO Box 34744     Seattle, WA 98124-1744    8778 10 225 2346900   Internet   $      (4.49) $    434.55 $    36.21
                       NW Natural Gas                 PO Box 6017     Portland, OR 97228-6017          230235-4         Gas      $ 1,733.60 $ 27,110.35 $ 2,259.20
                       NW Natural Gas                 PO Box 6017     Portland, OR 97228-6017         2809564-4         Gas      $     15.52 $    1,267.83 $   105.65
                       NW Natural Gas                 PO Box 6017     Portland, OR 97228-6017         2809552-9         Gas      $    118.29 $      799.30 $    66.61
                       NW Natural Gas                 PO Box 6017     Portland, OR 97228-6017         2809558-6         Gas      $     61.75 $    7,159.88 $   596.66




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                       NW Natural Gas                 PO Box 6017     Portland, OR 97228-6017           45975-0         Gas      $ 2,156.98 $ 30,753.62 $ 2,562.80
                       Pacific Power                1033 NE 6th Ave   Portland, OR 97256-0001      10307431-001-4      Power     $    839.90 $    2,843.58 $   236.97
                       Pacific Power                1033 NE 6th Ave   Portland, OR 97256-0001      06320651-001-6      Power     $          - $ 102,031.79 $ 8,502.65




Doc 87
                       Portland Disposal           7202 NE 42nd Ave   Portland, OR 97218-1195             954         Garbage    $    962.71 $ 16,928.51 $ 1,410.71
                       Portland Disposal           7202 NE 42nd Ave   Portland, OR 97218-1195            56212        Garbage    $ 3,570.64 $ 38,434.71 $ 3,202.89
                       Portland General Electric      PO Box 4438     Portland, OR 97208-4438   0000 89476-891637 4    Power     $       7.57 $      90.33 $     7.53
                       Portland General Electric      PO Box 4438     Portland, OR 97208-4438   0003 31884-492849-0    Power     $    304.16 $    4,122.83 $   343.57
                       Portland General Electric      PO Box 4438     Portland, OR 97208-4438    0004 42722-15839-0    Power     $ 1,412.85 $ 12,288.77 $ 1,024.06
                       Portland General Electric      PO Box 4438     Portland, OR 97208-4438   0004 42722-630496-4    Power     $ 11,194.99 $ 189,466.34 $ 15,788.86
                       Portland General Electric      PO Box 4438     Portland, OR 97208-4438   0004 68209-571272-7    Power     $     94.44 $    2,089.54 $   174.13




Filed 05/18/18
                       Portland General Electric      PO Box 4438     Portland, OR 97208-4438   0004 68209-571273-5    Power     $    789.99 $ 12,936.38 $ 1,078.03
                       Portland General Electric      PO Box 4438     Portland, OR 97208-4438   0004 68209-584315-9    Power     $    115.74 $    2,063.53 $   171.96
                       Portland General Electric      PO Box 4438     Portland, OR 97208-4438   0004 68209-557972-0    Power     $ 1,688.53 $ 26,309.42 $ 2,192.45
                       Portland General Electric      PO Box 4438     Portland, OR 97208-4438   0004 68209-308218-0    Power     $ 5,725.73 $ 77,269.11 $ 6,439.09
                       Portland General Electric      PO Box 4438     Portland, OR 97208-4438   0004 89476-308218-0    Power     $          - $          - $        -
                       Portland Water                 PO Box 4216     Portland, OR 97208-4216       298-055-720-0      Water     $ 41,571.86 $ 458,293.28 $ 38,191.11
                       Portland Water                 PO Box 4216     Portland, OR 97208-4216       298-051-510-0      Water     $ 17,669.12 $ 252,488.15 $ 21,040.68
                                                                              SUNSHINE DAIRY FOODS MANAGEMENT, LLC
                                                                                        UTILITY COMPANIES

                                                                                                                                                       Total amount
                                                                                                                                                       paid during
                                                                                                                                                          last 12
                                                                                                                              Type of     Current        months




Exhibit A - Page 4 of 4
                                                                                                                              Service   Balance due     (5/4/17 to       Deposit
                         Name of Utility Company     Mailing Address            City, State Zip            Account #         Provided   as of 5/4/17      5/4/18)       Amount*
                       Portland Water                  PO Box 4216       Portland, OR 97208-4216      298-266-190-0(QTRLY)    Water     $         -    $   1,350.06 $      112.51




                                 2
           Exhibit 1 - Page 2 of Case
                       Recology                    1850 NE Lafayette Ave Mcminnville,OR 97128            1080069542           Garbage $      161.51 $      1,975.23 $      164.60
                       Verizon                        PO Box 660108      Dallas, TX 75266-0108         664245968-00001       Cell Phone $    646.46 $      7,013.73 $      584.48

                       Waste Management of            PO Box 541065      Los Angeles, CA 90054-1065    00012-30605-83004     Garbage    $    272.08 $      3,005.36 $      250.45
                       Oregon
                       Windstream (Paetec)           P O Box 9001013     Louisville, KY 40290-1013          5730566           phone     $   1,890.06 $ 21,011.41 $ 1,750.95
                       TOTAL DEPOSIT AMOUNT:                                                                                                                     $ 108,723.88




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                       *Deposit amount equals
                       average monthly useage




Doc 87
                       over last 12 months.




Filed 05/18/18
In re Sunshine Dairy Foods Management, LLC
Ch 11 Bankruptcy Case No. 18-31646-tmb11 (Lead Case); and

In re Karamanos Holdings, Inc.;
Chapter 11 Bankruptcy Case No. 18-31646-tmb11

                                    CERTIFICATE - TRUE COPY

DATE:                May 18, 2018

DOCUMENT:           DEBTOR’S MOTION TO DETERMINE ADEQUATE ASSURANCE TO
                    UTILITY COMPANIES

       I hereby certify that I prepared the foregoing copy of the foregoing named
document and have carefully compared the same with the original thereof and it is a
correct copy therefrom and of the whole thereof.

                                    CERTIFICATE OF SERVICE

        I hereby certify that I served a copy of the foregoing on:
 See Attached List. (The original Service List is
 attached to the original copy filed with the Court
 only. Creditors may request a copy of the
 Service List by contacting the undersigned.)


by mailing a copy of the above-named document to each of them in a sealed envelope,
addressed to each of them at his or her last known address. Said envelopes were
deposited in the Post Office at Portland, Oregon, on the above date, postage prepaid.

      I hereby certify that the foregoing was served on all CM/ECF participants through
the Court's Case Management/Electronic Case File system on the date set forth below.

        Dated: May 18, 2018

                                               VANDEN BOS & CHAPMAN, LLP



                                               By:/s/Douglas R. Ricks
                                                 Douglas R. Ricks, OSB #044026
                                                 Of Attorneys for Debtors-in-Possession




Page 1 – CERTIFICATE OF SERVICE




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In re Sunshine Dairy Foods Management, LLC;
Bankruptcy Case No. 18-31644-pcm11
Service List

Debtor:                                  First Business Capital Corp.     Stiebrs Farms, Inc.
                                         Attn: Mark Buchert, VP-          c/o Dianna Stiebrs
Sunshine Dairy Foods Management, LLC     Account Executive                PO Box 598
Attn: Norman Davidson, III               401 Charmany Dr                  Yelm, WA 98597
801 NE 21st Ave.                         Madison, WI 53719
Portland, OR 97232                                                        Tetra Pak
                                         Grupo Phoenix                    c/o Bill Ballew
20 Largest Unsecured Creditors:          c/o Karen Alvarado               DEPT CH 10803
                                         18851 NE 29th Ave, Suite 601     Chicago, IL 60055-0803
Andersen Plastics                        Aventura, FL 33180
c/o Linda Erickson                                                        Valley Falls Farm, LLC
PO Box 310                               High Desert Milk, Inc.           c/o Kaye N. Barnes
Battle Ground, WA 98604-0310             c/o Steven Tarbet                18555 SW Teton Ave
                                         1033 Idaho St                    Tualatin, OR 97062
Bev Cap Management, LLC                  Burley, ID 83318
c/o Michelle Cummings                                                     Valley Falls Farm, LLC
120 W Virginia St Suite 200              Larsen's Creamery, Inc.          c/o Keystone-Pacific, LLC
Mckinney, TX 75069                       c/o Melody Librande              Kaye N. Barnes, RA
                                         16940 SE 130th Avenue            9955 SW Potano St.
Boon Chapman                             Clackamas, OR 97015              Tualatin, OR 97062
c/o Grabielle Rico
9401 Amberglen Blvd                      LTI, Inc.                        Secured Creditors:
Austin, TX 78729                         c/o Karen McKinnon
                                         PO Box 34206                     Citibank, N.A.
Country Lane Dairy                       Seattle, WA 98124-1026           388 Greenwich St., 25th Flr,
c/o Kaye N. Barnes                                                        Mail Drop 7
18555 SW Teton Ave                       Mayfield Farms, LLC              New York, NY 10013
Tualatin, OR 97062                       c/o Kaye N. Barnes
                                         18555 SW Teton Ave               Citibank, NA
Country Lane Dairy                       Tualatin, OR 97062               c/o Barbara Desoer - CEO
c/o Keystone-Pacific, LLC                                                 701 East 60th Street North
Kaye N. Barnes, RA                       Mayfield Farms, LLC              Sioux Falls, SD 57104
9955 SW Potano St.                       c/o Keystone-Pacific, LLC
Tualatin, OR 97062                       Kaye N. Barnes, RA               First Business Capital Corp.
                                         9955 SW Potano St.               401 Charmany Dr.
Danisco USA, Inc                         Tualatin, OR 97062               Madison, WI 53719
c/o Daniel Usieto
PO Box 32020                             Pacific Foods Of Oregon, Inc.    First Business Capital Corp.
New York, NY 10087-2020                  c/o Ginger Pielage               c/o Chuck Batson, President & CEO
                                         19480 SW 97th Ave                401 Charmany Dr
Domino Foods, Inc.                       Tualatin, OR 97062               Madison, Wi 53719
c/o Alessia Zalambani
PO Box 79066                             Portland Water Bureau            Ford Motor Credit Company
City of Industry, CA 91716-9066          Attn: Customer Svc -             PO Box 552679
                                         Bankruptcy                       Detroit, Mi 48255
Ernest Packaging Solutions               PO Box 4216
c/o Monique Gonzales                     Portland, OR 97208-4216          Ford Motor Credit Company LLC
9255 NE Alderwood Rd.                                                     c/o CT Corp. System, RA
Portland, OR 97220                       QCS Purchasing, LLC              780 Commerical St SE Ste 100
                                         c/o Mary DeMarco                 Salem, OR 97301
                                         PO Box 87618
                                         Chicago, IL 60680-0618




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In re Sunshine Dairy Foods Management, LLC;
Bankruptcy Case No. 18-31644-pcm11
Service List

Strada Capital Corporation              Comcast                           Recology
23046 Avenida de la Carlota,            PO Box 34744                      1850 NE Lafayette Ave
Ste 350                                 Seattle, WA 98124-1744            McMinnville, OR 97128
Laguna Hills, CA 92653;
                                        Comcast                           Recology
Strada Capital Corporation              CT Corporation Systems, R.A.      c/o National Registered Agents, R.A.
c/o Christopher Parsons, R.A.           780 Commercial St. SE, Ste 100    780 Commercial St. SE, Ste 100
23046 Avenida de la Carlota,            Salem, OR 97301                   Salem, OR 97301
Ste 350
Laguna Hills, CA 92653                  NW Natural Gas                    Verizon
                                        PO Box 6017                       PO Box 660108
LCA Bank Corporation                    Portland, OR 97228-6017           Dallas, TX 75266-0108
1375 Deer Valley Drive, Ste. 218
Park City UT 84060                       NW Natural Gas                   Verizon Wireless, abn for
                                         c/o Mardilyn Saathoff, R.A.      Verizon Wireless (VAW) LLC
LCA Bank Corporation                     220 SW 22nd Ave.                 c/o C T Corporation System
c/o Thomas T. Billings, Registered Agent Portland, OR 97209               Registered Agent
15 West South Temple Ste 1700                                             780 Commercial St SE Ste 100
Salt Lake City, UT 84101                 Pacific Power                    Salem, OR 97301
                                         1033 NE 6th Ave
Multnomah Assessment & Taxation          Portland, OR 97256-0001          Waste Management of Oregon
501 SE Hawthorne,1st Floor                                                PO Box 541065
P.O. Box 5007                            Pacific Power                    Los Angeles, CA 90054-1065
Portland, OR 97208                       c/o C T Corporation System
                                         780 Commercial St. SE, Ste 100   Waste Management of Oregon, Inc.
Multnomah County Tax Assessor Attn       Salem, OR 97301                  c/o CT Corporation Systems, R.A.
Angelika Loomis, Agent                                                    780 Commercial St. SE, Ste 100
PO Box 2716                              Portland Disposal                Salem, OR 97301
Portland, OR 97208-2716                  7202 NE 42nd Ave
                                         Portland, OR 97218-1195          Windstream (Paetec)
Toyota Motor Credit Corporation                                           P O Box 9001013
PO Box 5855                              Portland Disposal                Louisville, KY 40290-1013
Carol Stream, Il 60197                   c/o Ray Salvi, R.A.
                                         7202 NE 42nd Ave.                Windstream Communications, LLC
Toyota Motor Credit Corp                 Portland, OR 97218               c/o CT Corporation Systems, R.A.
6565 Headquarters Dr.                                                     780 Commercial St. SE, Ste 100
Plano, TX 75024                          Portland General Electric        Salem, OR 97301
                                         PO Box 4438
Toyota Motor Credit Corporation          Portland, OR 97208-4438          Electronic Mail:
 c/o CT Corporation System, RA
780 Commercial St SE Ste 100             Portland General Electric        The foregoing was served on all
Salem, OR 97301                          c/o Stephen A. Redshaw, R.A.     CM/ECF participants through the
                                         121 SW Salmon                    Court's Case Management/
Utility Companies:                       Portland, OR 97204               Electronic Case File system.

AT & T                                  Portland Water Bureau
P O Box 105068                          PO Box 4216
Atlanta, GA 30348                       Portland, OR 97208-4216

CenturyLink                             Portland Water Bureau
PO Box 91155                            c/o City Attorney's Office
Seattle, WA 98111-9255                  1221 SW 4th Ave, Rm 430
                                        Portland OR 97204-0000




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